                               Internal Revenue Service
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                                 Criminal Investigation

                                             Memorandum of Interview


InRe:                  Eddy Patterson                             Location:    United States Attorney's Office
Investigation #:       730030040
Date:                  May 6, 2004
Time:                  Approx. 2:20 P.M ..
Participant(s):        Eddy Patterson, Witness
                       Tim Arsenault, Special Agent IRS-CI
                       Stan Swagerty, Special Agent FBI
                       Steve Knorr, Attorney for Patterson
                       Doug Horn, Assistant United States Attorney
                       Melody Nelson, Assistant United States Attorney

         On the above date and time, SA Swagerty and I transported Eddy Patterson from David L.
         Moss correctional facility to the United States Attorney's Office. This Rule 11 proffer was set
         up at the request of Eddy Patterson who wanted to provide information to us about his criminal
         trial attorneys' and legal advisers. Patterson agreed to waive attorney client privileges relating
         to all his criminal trial attorney's including Oscar Stilley, Jerry Barringer, Frank Hagedorn,
         William WIdell and William Patterson. Patterson was informed by Doug Horn that he could
         stop the questioning at any time and that we.would leave the room, so he could have private
         conversations with his attorney Steve Knorr. In response to our questions Patterson provided
         the following information:


              1. Patterson first contacted Lindsey Springer by phone shortly after SA Arsenault
                 informed Patterson that he was under crlmirial investigation for tax violations. (SA
                 Arsenault contacted Patterson on March 1. 2000.) Springer was referred to Patterson by
                 Richard Clark. Patterson was alSo told by a fellow Gideon named Richard Hackler
                 (phonetic spelling) that Springer conducts weekly meetings at an unknown location
                 every Tuesday night in Broken Arrow with individuals that have a common
                 denominator of tax problems or issues with the U.S. government. Patterson never
                 attended these meeting but knows they are taped as Springer gave him tapes of meetings
                 during which they discussed Patterson's tax problems.

              2. After contacting Springer they met shortly after on a Saturday at NESCO. Present at
                 the meeting was Patterson, Springer, Springer's unknown girlfriend and Oscar Stilley.
                 Patterson is sure the meeting was on a Saturday because he did not want to meet during
                 working hours with employees present. .During the meeting it was decided that th~
                 would represent Patterson regarding his tax problems. Springer told Patterson that he
                 was not an attorney but bad been domg research for the last 10 years in this area.
                 Stilley was the attorney and was familiar with this type oflaw. In the beginning Stilley



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          would bill Patterson on an hourly basis and Patterson would pay Stilley monthly.
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                    Springer told Patterson that he had a bus he needed to refurbish and use to travel to
                   other tax cases....Springer wanted $45,000 from Patterson which Patterson aid to
                 '-Springer over the next sev       we     mon . Springer told Patterson that "is what he
                    neeaea to <10 the case"'. Springer asked Patterson to write "donation" on the memo
                    portion of the checks ana told Patterson this money went through his ministry. Springer
                  . sara that he did oot charge fees but took money for his ministry. Patterson understood
                 +~t any payments to Springer were fees for his services for handling his criminal case
                    and managing the attorneys Oscar Stilley and Jerry Barringer. Springer said he knew
                    more than the attorneys about this area of law and would direct them how to handle the
                    case. Patterson would not have made donations to Springer because that is not what,
                    PattersOn made donations to..

        3. Patterson did ilot believe that Springer had any kind of religious ministry.

        4. Patterson identified a $5,000 check payable to Jerry Barringer dated 3/17/00 and a
           $5,000 check payable to Oscar Stilley dated 3/17/00 written from his account #4008822
           at Citizens Bank of Tulsa, now known as Gold Bank:. Patterson believes he mailed
           these checks to Barringer and Stilley at Springer's request. They were for a retainer.
           Patterson believes he used the retainer money refunded from Tony Graham to p~y
           Barringer and Stilley.
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            5. Patterson identified a check payable to Feldman, Frandon, Woodard & Farris dated
               3/14/00 in the amount of$IO,OOO written from his account #4008822 at Citizens Bank
               of Tulsa. This check: was-a retainer for Tony Graham to represent him. After he
               decided not to use Graham, approximately $9,600 of the money was returned to
               Patterson. The difference was the amount charged by Graham for working on the case.

            6. Patterson identified three $10,000 checks written to Springer dated 8/25/00, 9/25/00 llI"!d
               111 00 drawn from his a~unt #4008822 at Citizens Bank of Tulsa. Patterson
               believes these were part 0 e       ,    pat to pnnger.        erson    lieves there was
               another check earlier than August written to S 'nger that investi ators did not have at
               the interview. Springer di no ms ct atterson to make the checks 1;              or ess.

                 ~                   ..                              ~v-l4
            7. During approximately the spring of 2003, PatteI10n I\.~             'i Spl' (~
                                                                        sold ECC'Energy !tock. Ed
                 Foraker is the President ol bee Energy~ Patterson endorsed an ECC Energy check in
                 the amount of approximately $112,500 over to Oscar Stilley'--for criminalle~al fees.
                 Patterson believes Stilley deposited this into a trust account. Patterson is unsure how
                 the check got to Stilley. He might have given it to Springer to deliver to Stilley.
                 Springer told Patterson that it was important that the check go straight to Stilley.
                 Springer warned that the IRS may attach to it if the check was deposited into
                 Patterson's bank account Once Stilley received the $112,500, Stilley gave Springer
              "7 $45.000.   Stilley had Patterson agree to this before the money was given to Springer.

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                                  gaveEstill. Hall $30,000
                                       Patterson   Estill wasofrepresenting
                                                                the $45.000. Patterson
                                                                              Pattersonfor his the
                                                                                        used    civil$30,000
                                                                                                       liabilities.
                                                                                                                to pay
                   Patterson sometimes wrote credit card checks to Hall Estill and may have used the
                              $30,000 ,to repay the credit card debt !he rem3ining $15,000 that Sprin~er received
                              was for services provided by Springer for Patterson's criminal defense.


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         8. Patterson never received monthly billings from Springer, just Stilley. The billings from
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            Stilley may show payments made to Springer. Patterson agreed to twn these billings
            over to us. He may have some of the billings and communications with Stilley or
            Springer on his computer. He agreed to turn the computer over to us as well. Patterson
            may have saved some of the e-.mails onto his computer hard drive. Patterson used AOL
            as his internet provider. The computer may currently be in storage at l06th and
            Memorial. His daughter Debra (918) 451-6430 or Tiin Patterson would have access to
            it. With the approval of Patterson, Steve Knorr agreed to locate the computer, any
            billings and bank records documenting payments to Stilley, Springer or Barringer and
            turn them over to us. Knorr instructed Patterson to let Tim Patterson know that Knorr
            would pick up the evidence.

             9. During approximately September 2003 Patterson settled with his insurance company for
                approximately $540,000 for legal fees. Patterson had officers and directors liability
                insurance. Patterson could not recall the name of the insurance company. Springer
                advised Patterson to take the settlement as it would provide enough money to fund his
                criminal defense. The insurance company made a check payable to Patterson and Hall
                Estill. Hall Estill was due $140,000. The remaining approximate $400,000 was paid
                over to Oscar Stilley by Hall Estill. Patterson believes the funds could have been wired
                to Stilley. Hall Estill represented Patterson for the class action law suit brought by
                NESCO shareholders and the SEC civil investigation. Patterson had to personally pay
                Hall Estill for a lawsuit brought by Dal Bagley against Patterson. The insurance
                company would not pay for this as Bagley was a director.

             10. Out of the $400,000, Stilley gave Springer $90,000. Stilley said the money was for
                  Springer's expertise and tlult he needed to be paid for his services. Stilley advised that
                  Patterson pay Springer. Stilley received permission from Patterson before giving           .
                  Springer the money. Patterson did not give this permission until after he met with
                  Springer. Springer came to Patterson's house and told Patterson it was less than what
                  he normally charges but that he charges "on ability to pay." Patterson understood that
                  $60,000 was supposed to be for civil representation and Springer would return it if the
                . civil case did not go forward. The civil case did not go forward but Springer never
                  returned the money. Patterson felt the $90,000 paid to Springer was too high. Springer
                  previously told him that the last payment of$15,000 was all he needed. Springer told
                  Patterson that the case was more work than originally thought and since the insurance
                  money was there Springer was entitled to it After Patterson approved the money being
                  paid to Springer, he believes.it was done in the next few days. This would have been
                  the later part of2oo3.

             11. After Stilley received the $400,000 insurance funds he gave Patterson back
                 approximately $112,500 which represented the money from the stock sale. The
                 $112,5000 was deposited by Patterson into Tulsa Sales and Rental's account at
                 Oklahoma National Bank. Some of this money was used to pay off Patterson's credit
                 card debt that had accrued legal fees to ·Hall Estill.

             12. Out of the $400,000 & $112,500 payments, Stilley was left with approximately
                 $270,000 for himself after the payments to Springer.


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             13. Patterson is unsure how much money Barringer received. The billings from Stilley may
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             14. After Patterson was found guilty by jury, Patterson paid an additional $20,000 to
                 Stilley. $10,000 was supposed to be for the transcript and $10,000 for sentencing phase
                 representation. Patterson paid the $20,000 with funds from Tulsa Sales and Rental.
                 The check was paid to Stilley's trust account. This took place in 2003 or 2004.
                 Patterson asked why the $400,000 of insurance money did not cover this and was told
                 there was none left. Patterson then asked Stilley about the $60,000 that was pai.J!

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                             turned    ~ntation.
                                          to cost aroUndSpnnger
                                                         $6,600 told Stilley was
                                                                and Stilley  that he didn't
                                                                                  going     owe It.a little
                                                                                        to return     The bit of
                 the money but Judy Patterson continued to use Barringer for her sentencing phase. The
                remaining money was then paid to Barringer.

             15. Patterson stated there was no understanding that Springer was to hold the $60,000 until
                 Judy Patterson was released from prison and then the money would be given back to
                 her. !here was no intent in hiding money from the IRS.

             16. After Patterson was found guilty he was taken to David L. Moss. A week or so later
                 Stilley and Springer came to David L. Moss to visit with Patterson. 5 minutes into the
                 meeting the guards made Stilley and Springer leave. Patterson later learned, after
                 Stilley returned alone; that there was a problem with Springer's credentials and Sprin~~
                 was not found on the bar card. Springer was not allowed to VISitPatterson anymore .
               •~Patterson was stripped searched when Stilley and Springer were made to leave the
                 room:

             17. Patterson decided to have Springer, Stilley and Barringer represent him for the entire
                  criminal case as Sprin~er told him they would do a better job and Springer had done a
                   lot of research ana knew more than Hall Estill. Barringer or Stilley never told Patterson
               1 they were experts in SEe relatea law. Hall hstill wanted to separate the SECcriminal

                . case from the tax case. Hall Estill told Patterson they did not defend tax cases and he
                   could get whoever he wanted to represent him on thatJatterson      felt that Hall Estill
                   was too ex      ive and felt they were not committed to the case. Patterson also felt that
                  money was important to Hall Esh as the msurance c ec              not arrived at the time
                   when he was deciding who to represent him. Patterson also felt that Frank Hagedorn's,
                   Hall Estill criminal attorney. heart was not mthe case. Patterson agreed. With JJoug
                ""Rom that it is an honest evaluation to assume that Hall EStill did not think Patterson's
                r--tax defense carried any welgl1t. Hagedorn dId not tell Panerson he disagreed with his

               , beliets but tllat he did not want to handle the tax case and it should be separated.

             18. Stilley and Springer both told Patterson that they did not pay Federal income taxes.
                 Stilley told Patterson that his wife filed married filing separate. Patterson is unsure if
                 Barringer filed Federal tax returns or not.

             19. Both Eddy and Judy Patterson were given assurances by Springer and Still

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                .•:()ne would ~o to iaiLThey said Judy was an mnocentspouse. No plea agreements were
                   ever communicated to Patterson by Stilley, Barringer or any other criminal attorney:'


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               Frank Hagedorn wanted to discuss a plea and consider talking about it to prosecutors
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         but no agreements or specifics were presented to Patterson. Patterson told Stilley that
                he would plead guilty to keep Judy out of the criminal case. John Bugg. Patterson's
                pastor at Woodland Acres Baptist Church. talked to Patterson about how the criminal
                process usually proceeds. Bugg suggested that a plea agreement is usually offered.
                Bugg was a fonner attorney for Connors and Winters. Patterson waived any attorney
                client or clergy privilege between him and Bugg and told us we were welcome to talk to
                Bugg about this.

        20. In all. Patterson believes Springer receive at least $150,000. Patterson believes
            Springer lives in Sand Springs, OK or the Cleveland. OK area. Springer also dated a
            pro from the Clary Field Country Club (phonetic spelling).

            21. At the conclusion of the interview we thanked Patterson for his time and SA Swagerty
                      I
                and returned. him to the David L. Moss correctional facility. At the jail SA Arsenault
                let Patterson use his cell phone to contact Tim Patterson. Eddy Patterson told Tim
                Patterson to get the computer, attorney billings and bank records together for Steve
                Knorr to pick up.

     I certify that the above information clearly refleCts the events that took place on the above date
     and time.



      ;?~A~J
     Tim Arsenault
     Special Agent

     I prepared this memorandum on May 7, 2004, after refreshing my memory from notes made
     during the interview with Eddy Patterson.
                                                                /J~~'
                                                               Tim Arsenault
                                                               Special Agent




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